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 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP

 2    Stephen A. Broome (CA Bar No. 314605)           Andrew H. Schapiro (admitted pro hac vice)
      stephenbroome@quinnemanuel.com                  andrewschapiro@quinnemanuel.com
 3    Viola Trebicka (CA Bar No. 269526)              Teuta Fani (admitted pro hac vice)
      violatrebicka@quinnemanuel.com                  teutafani@quinnemanuel.com
 4
      Crystal Nix-Hines (CA Bar No. 326971)           Joseph H. Margolies (admitted pro hac vice)
 5    crystalnixhines@quinnemanuel.com                josephmargolies@quinnemanuel.com
      Rachael L. McCracken (CA Bar No 252660)         191 N. Wacker Drive, Suite 2700
 6    rachaelmccracken@quinnemanuel.com               Chicago, IL 60606
      Alyssa G. Olson (CA Bar No. 305705)             Telephone: (312) 705-7400
 7                                                    Facsimile: (312) 705-7401
      alyolson@quinnemanuel.com
 8    865 S. Figueroa Street, 10th Floor
      Los Angeles, CA 90017
 9    Telephone: (213) 443-3000
      Facsimile: (213) 443-3100
10
      Xi (“Tracy”) Gao (CA Bar No. 326266)
11
      tracygao@quinnemanuel.com
12    Carl Spilly (admitted pro hac vice)
      carlspilly@quinnemanuel.com
13    1300 I Street NW, Suite 900
      Washington D.C., 20005
14    Telephone: (202) 538-8000
15    Facsimile: (202) 538-8100

16 Counsel for Defendant Google LLC

17                          UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
18

19    CHASOM BROWN, et al., on behalf of               Case No. 4:20-cv-03664-YGR-SVK
      themselves and all others similarly situated,
20                                                     GOOGLE LLC’S OPPOSITION TO
             Plaintiffs,                               SALCIDO PLAINTIFFS’ MOTION TO
21                                                     INTERVENE AND TO CONTINUE THE
             v.                                        FINAL APPROVAL HEARING
22
      GOOGLE LLC,                                      Judge: Hon. Yvonne Gonzalez Rogers
23                                                     Date: August 7, 2024
             Defendant.                                Time: 2:00 p.m.
24                                                     Location: Courtroom 1 – 4th Floor

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 1          Defendant Google LLC (“Google”) respectfully submits this Opposition to the Salcido

 2 Plaintiffs’ Motion pursuant to Federal Rule of Civil Procedure 24 to Intervene and to Continue the

 3 Final Approval Hearing (the “Motion”) on the parties’ proposed Settlement Agreement (the

 4 “Settlement”), currently scheduled for August 7, 2024 (“Approval Hearing”).

 5 I.       INTRODUCTION

 6          The Salcido Plaintiffs seek to intervene neither to object to the terms of the Settlement nor

 7 to protect any interest of the Rule 23(b)(2) injunctive relief classes that the Court certified. Their

 8 Motion does not identify a single aspect of the Settlement of the classes’ claims as objectionable or

 9 not in the classes’ best interest. Rather, they admit seeking only to advance individual damages

10 claims that this Court declined to certify and which they are pursuing in California Superior

11 Court. That is not a basis for delaying the hearing on the unobjected-to Settlement this late in the

12 game. The Motion should be denied.

13          The Salcido Plaintiffs’ primary complaint is that, in the Settlement, the parties agreed that

14 the Named Plaintiffs’ damages claims—which the Court declined to certify—will be resolved

15 through arbitration, while individual class members seeking damages must pursue their claims in

16 court. But that is not a ground to intervene. The parties agreed to this provision after agreeing to

17 terms for settling the certified classes’ claims to avoid a costly and imminent trial for de minimis

18 individual damages claims that Plaintiffs’ counsel acknowledged were worth about “three dollars a

19 person.” July 16, 2024 Declaration of Stephen Broome (“Broome Decl.”), Ex. 1 at 145–46. There

20 is no argument that this aspect of the Settlement adversely “impair[s] or impede[s]” the class

21 members’ ability to pursue their damages claims. Simply put, how the Named Plaintiffs decide to

22 resolve their specific damages claims is not of individual class members’ concern—and certainly

23 not a basis for intervention as of right under Rule 24(a).

24          Nor is there any basis for the Court to permit the Salcido Plaintiffs’ untimely and improper

25 request to intervene under Rule 24(b) to request production of the entire discovery record in this

26 case so that they can use it to pursue their individual damages claims against Google in state court.

27 See Mot. 12. First, they made their request a year and a half after the Court’s class certification

28 decision confirmed that individual damages claims would need to be pursued individually. Their
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 1 request therefore fails Rule 24’s threshold requirement that such a motion for intervention be made

 2 “on timely motion.” Fed. R. Civ. P. 24(b).

 3          Second, the Salcido Plaintiffs’ request for cloned discovery is not properly made to this

 4 Court and cannot be a basis for intervention. Controlling Ninth Circuit authority (which the Salcido

 5 Plaintiffs cite) expressly states that a request for discovery in these circumstances must be made to

 6 the Superior Court where their claims are pending. Foltz v. State Farm, 331 F. 3d 1122, 1131 (9th

 7 Cir. 2003). According to Foltz, the most this Court can do is modify the protective order (and any

 8 applicable sealing orders) to allow production of documents subject to the Court’s orders in

 9 collateral litigation. Id. The Salcido Plaintiffs do not clearly seek modification of the protective

10 order, and fail to explain why modification would be necessary for them to obtain discovery of

11 Google in their state court actions.

12          The Court should not let the imminent conclusion of this long-running class action be

13 derailed by plaintiffs belatedly seeking to intervene for the sole purpose of advancing individual

14 damages claims in state court. The Motion should be denied.

15 II.      BACKGROUND

16          On December 12, 2022, the Court denied Plaintiffs’ motion to certify damages classes

17 pursuant to Rule 23(b)(3) and certified two injunctive relief classes pursuant to Rule

18 23(b)(2). Dkt. 803 at 27-34. On December 22, 2023, the parties signed a term sheet setting forth

19 the terms for settling the class claims. The parties executed a settlement agreement on March 11,

20 2024, and Plaintiffs filed a Motion for Final Approval of Class Action Settlement on April 1, 2024.

21 Dkt. 1096. Google filed its Statement of Non-Opposition and Clarification Regarding Plaintiffs’

22 Motion for Final Approval of Class Action Settlement on April 8, 2024. The Approval Hearing is

23 scheduled for August 7, 2024, just several weeks away.

24          While the parties negotiated the class settlement, Plaintiffs’ counsel at Boies Schiller &

25 Flexner LLP and Morgan & Morgan (“BSF”) indicated that they had signed up tens of thousands of

26 class members to file individual lawsuits against Google seeking damages based on the same

27 conduct at issue here. To avoid derailing the class settlement negotiations with the filing of tens of

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 1 thousands of individual damages actions, BSF agreed to hold the individual actions in abeyance and

 2 Google agreed to toll them. See Broome Decl., Ex. 2.

 3           On March 28, 2024, BSF terminated the tolling agreement and thereafter began filing

 4 complaints substantively identical to the complaint here in California Superior Court on behalf of

 5 individual class members. BSF has filed over 1,900 such complaints on behalf of over 98,000

 6 individuals seeking damages.

 7           Potter Handy LLP—the Salcido Plaintiffs’ counsel—then decided to get in on the

 8 action. They copied the BSF complaints and filed copycat damages actions against Google on

 9 behalf of individual class members. Potter Handy has filed three actions on behalf of at least 2,170

10 individuals seeking damages.

11 III.      ARGUMENT

12           A.     The Court Should Deny the Salcido Plaintiffs’ Motion for Intervention of
                    Right Under Rule 24(a)
13
             Rule 24(a)(2) requires the Court, upon timely motion, to permit intervention by a party who
14
     “claims an interest relating to the property or transaction that is the subject of the action, and is so
15
     situated that disposing of the action may as a practical matter impair or impede the movant’s ability
16
     to protect its interest.” Fed. R. Civ. P. 24(a) (“Intervention of Right”).
17
             Intervention of Right should be denied because the Salcido Plaintiffs fail to establish that the
18
     Settlement will in any way “impair or impede” the only interest they assert here—i.e., their interest
19
     in pursuing individual damages claims in state court. Indeed, the Motion fails to even argue the
20
     applicable legal standard; instead, the Salcido Plaintiffs breezily assert that, because they are class
21
     members, the Court “can easily dispose of” this requirement “without further analysis.” Mot. 9
22
     (citing In re Community Bank of Northern Virginia, 418 F.3d 277, 314 (3d Cir. 2011)). But their
23
     sole authority advocating for this cursory treatment of Rule 24—the Third Circuit’s decision in
24
     Community Bank—is inapposite. There, the Court allowed intervention of class members who
25
     sought to conduct an inquiry into the fairness of a class-wide settlement that would have resolved
26
     all claims for monetary relief. Here, by contrast, the only interest that the Salcido Plaintiffs assert
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 1 is advancing their individual damages claims, which the Settlement explicitly excludes because the

 2 Court denied certification of a damages class. See Dkt. 803 at 32.

 3          The Salcido Plaintiffs assert that “the record makes it clear that [they] cannot rely on class

 4 counsel or class representatives to adequately protect their individual interests in pursuing damages

 5 claims,” and that they “have no expectation that class counsel will pursue damages remedies on their

 6 behalf.” Mot. 11. Indeed, that is correct, but provides no basis for intervention of right. Because

 7 the court denied a damages class, neither class counsel nor the class representatives represent class

 8 members’ “individual interests in pursuing damages claims.” There is no cause for the Salcido

 9 Plaintiffs to expect that class counsel will pursue damages remedies on their behalf.

10          Nor is there merit to the Salcido Plaintiffs’ argument that their “interests are inadequately

11 protected” because the Settlement provides that the Named Plaintiffs’ damages claims will be

12 arbitrated while the Salcido Plaintiffs “must individually file actions in state court.” Mot. 10. There

13 is nothing unusual or unfair about this provision. The Named Plaintiffs filed their claims in court

14 and litigated them for years. After settling the certified classes’ claims, the parties mutually agreed

15 that there was no reason to burden the Court or a jury with a trial on individual damages claims that

16 class counsel acknowledged were worth only about “three dollars a person.” Broome Decl., Ex. 1

17 at 145–46. The parties agreed to resolve the Named Plaintiffs’ nominal damages claims through a

18 more efficient arbitration process.

19          That the Salcido Plaintiffs must file and prosecute individual actions to recover damages

20 (Mot. 11) is not a consequence of the Settlement but of the Court’s ruling denying certification of a

21 damages class. The Named Plaintiffs’ damages claims are being treated differently because they

22 already litigated their claims in court and the parties agreed to move them to arbitration to avoid an

23 imminent and costly trial.

24          Because the parties’ agreement to resolve the Named Plaintiffs’ damages claims in

25 arbitration plainly does not “impair or impede” the Salcido Plaintiffs’ ability to pursue their damages

26 claims in court (see Fed. R. Civ. P. 24(a)(2)), the Salcido Plaintiffs have no basis for intervention of

27 right.

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 1          B.      The Court Should Deny the Salcido Plaintiffs’ Motion for Permissive
                    Intervention Under Rule 24(b)
 2
            1.      Permissive Intervention Should Be Denied Because the Motion Is Not Timely
 3
            A motion for permissive intervention pursuant to Rule 24(b) must be “timely.” League of
 4
     United Latin Am. Citizens v. Wilson, 131 F.3d 1297, 1308 (9th Cir. 1997). In determining
 5
     timeliness, courts in the Ninth Circuit consider “the stage of the proceedings, the prejudice to
 6
     existing parties, and the length of and reason for the delay.” Id. In the context of permissive
 7
     intervention, courts “analyze the timeliness element more strictly than [] with intervention as of
 8
     right.” Id. Each of the timeliness factors weighs in favor of denying intervention.
 9
            First, this is the eleventh-hour of this case. The parties litigated this case for nearly four
10
     years before entering into the Settlement in advance of trial. The Salcido Plaintiffs have known
11
     since December 12, 2022, that damages claims based on Google’s receipt of data from Incognito
12
     users would need to be pursued individually. See Dkt. 803 at 32. If they truly believed that they
13
     needed access to the discovery record, they should have filed their claims and motion promptly after
14
     the Court’s class certification decision. They instead waited more than a year and a half—until just
15
     weeks before the Approval Hearing—before seeking to intervene “for the purpose of obtaining
16
     discovery.”
17
            Second, the certified classes and the parties would be prejudiced by an intervention that
18
     would delay final approval. Much of the relief that the Settlement provides class members will not
19
     be implemented unless and until the Court approves the Settlement. See, e.g., Dkt. 1097-4 at Section
20
     III, Paragraphs 2(a)-(e). Delay would also cause the parties further burden and expense. Such
21
     prejudice is not justified by the Salcido Plaintiffs’ desire to intervene so that they may conduct
22
     discovery for their collateral damages actions in state court.
23
            The Salcido Plaintiffs offer no excuse for their long delay, much less a compelling reason to
24
     justify it. The Motion is thus not “timely” and is certainly no basis to continue the hearing on the
25
     Settlement or otherwise delay its approval.
26

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 1          2.       There Is No Basis to Permit Intervention for the Purpose of Obtaining Discovery
                     for Use in the State Court Damages Actions or to Modify the Protective Order
 2
            The Salcido Plaintiffs seek to base their permissive intervention under Rule 24(b) on their
 3
     request for all “discovery materials produced and exchanged” in the Brown action—essentially, a
 4
     request for cloned discovery of millions of documents, dozens of deposition transcripts, and expert
 5
     reports, many of which this Court has sealed. But even if their overreaching request were
 6
     appropriate—it is not—it is not properly made to this Court and no basis for permissive
 7
     intervention.
 8
            The Ninth Circuit’s decision in Foltz v. State Farm Mut. Auto Ins. Co., 331 F.3d 1122, 1133
 9
     (9th Cir. 2003) (cited at Mot. 12-13) controls. In Foltz, the Ninth Circuit explained that “disputes
10
     over the ultimate discoverability of specific materials covered by the protective order must be
11
     resolved by the collateral courts”—here, the Superior Court where the Salcido Plaintiffs are
12
     prosecuting their damages claims. Id. (“Allowing the parties to the collateral litigation to raise
13
     specific relevance and privilege objections to the production of any otherwise properly protected
14
     materials in the collateral courts further serves to prevent the subversion of limitations on discovery
15
     in the collateral proceedings.”). This Court’s actions are thus limited to modifying the operative
16
     Protective Order and Sealing Orders to allow certain discovery only if the Superior Court decides
17
     that they are relevant and should be produced. Id. These procedures “preserve the proper role of
18
     each of the courts involved.” Id.
19
            The Salcido Plaintiffs cite no case permitting intervention for the purpose of obtaining
20
     cloned discovery. And the authority they do cite does not support their request. In San Jose
21
     Mercury News, Inc. v. Dist. Ct., a newspaper sought to intervene to modify the underlying protective
22
     order and obtain access to a single document—a sealed report by the City of Mountain View
23
     detailing its investigation of claims of sexual harassment by female police officers. 187 F.3d 1096,
24
     1098–99 (9th Cir. 1999). In Beckman Industries, Inc. v. Int’l Ins. Co., the intervenors sought to
25
     modify the protective order to access six deposition transcripts that concerned a topic directly
26
     relevant to issues in a related action. 966 F.2d 470, 472–76 (9th Cir. 1992). In both cases, the
27
     putative intervenors sought targeted modifications to the protective order to allow production
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 1 of specific documents they requested, and the Court balanced their interest in accessing the

 2 materials against the producing parties’ “countervailing interests.” See San Jose Mercury News,

 3 Inc., 187 F.3d at 1102–03 (noting that “presumption in favor of access” can be “overcome by

 4 sufficiently countervailing interests” and thus district court must “conscientiously undertake [a]

 5 balancing test, basing its decision on compelling reasons and specific factual findings”). Here, in

 6 stark contrast, the Salcido Plaintiffs broadly seek every document produced in Brown without any

 7 explanation—much less justification. The Salcido Plaintiffs’ blunderbuss request does not enable

 8 the Court to make “specific factual findings” supporting a decision to grant intervention.

 9           To the extent the Salcido plaintiffs seek to intervene to modify the Protective Order in this

10 case—relief their Motion does not appear to seek—that request should also be denied. The Salcido

11 Plaintiffs do not explain what modifications they seek, or why modifications would be necessary

12 for them to obtain discovery in their state court damages actions. Presumably, they seek the

13 documents that Google produced in this action. But since they have sued Google, they can request

14 the documents from Google directly if their cases make it to discovery. If there is a dispute over the

15 scope of discovery, the Superior Court will rule on it. Because the Salcido Plaintiffs provide no

16 explanation as to why they need to intervene here to obtain yet-to-be-requested discovery in the

17 Superior Court actions, their Motion for permissive intervention should be denied.

18           3.      There Is No Basis to Permit Intervention for the Purpose of Preserving Purported
                     “Appellate Rights”
19
             The Court should also deny the Salcido Plaintiffs’ Motion for permissive intervention “to
20
      protect their appellate rights.” Mot. 13. The Salcido Plaintiffs contend that, “‘[b]ecause only parties
21
      may appeal, it is vital that district courts freely allow the intervention of unnamed members who
22
      object to proposed settlements and want an option to appeal an adverse decision.’” Id. (citing
23
      Crawford v. Equifax Payment Servs., Inc., 201 F.3d 877, 881 (7th Cir. 2000) (emphasis
24
      added)). Unlike the intervenors in Crawford, however, the Salcido Plaintiffs neither object to the
25
      proposed Settlement nor identify any reason why it should not be approved. Because they articulate
26
      no basis for—or even an interest in—challenging an order approving the Settlement on appeal, there
27
      is no basis for permitting them to intervene to protect purported “appellate rights.”
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 1          Finally, there is no basis for permitting the Salcido Plaintiffs to intervene so that they can

 2 appeal the Court’s December 12, 2022 decision denying certification of a Rule 23(b)(3) damages

 3 class. The certified classes’ waiver of the right to appeal the Court’s December 12, 2022 order is a

 4 material term of the Settlement. If the Salcido Plaintiffs object to the Settlement on that basis, they

 5 should have clearly so stated and sought intervention on the basis of their objection. They did

 6 not. Indeed, they acknowledge that they still have not determined whether they “object [to] or

 7 support” the Settlement. Mot. 8. The Salcido Plaintiffs cite no case holding that they may intervene

 8 merely to preserve the option to appeal an interlocutory order where they still have not decided

 9 whether they object to the settlement of the action.

10                                            CONCLUSION

11          The Motion should be denied.

12

13

14    DATED: July 16, 2024                      Respectfully submitted,
15                                              QUINN EMANUEL URQUHART &
                                                SULLIVAN, LLP
16
                                                 By           /s/ Andrew H. Schapiro
17
                                                               Andrew H. Schapiro
18
                                                      Andrew H. Schapiro (admitted pro hac vice)
19                                                    andrewschapiro@quinnemanuel.com
                                                      Teuta Fani (admitted pro hac vice)
20                                                    teutafani@quinnemanuel.com
21                                                    Joseph H. Margolies (admitted pro hac vice)
                                                      josephmargolies@quinnemanuel.com
22                                                    191 N. Wacker Drive, Suite 2700
                                                      Chicago, IL 60606
23                                                    Telephone: (312) 705-7400
                                                      Facsimile: (312) 705-7401
24
                                                      Stephen A. Broome (CA Bar No. 314605)
25
                                                      stephenbroome@quinnemanuel.com
26                                                    Viola Trebicka (CA Bar No. 269526)
                                                      violatrebicka@quinnemanuel.com
27                                                    Crystal Nix-Hines (Bar No. 326971)
                                                      crystalnixhines@quinnemanuel.com
28                                                    Rachael L. McCracken (Bar No 252660)
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 1                                              rachaelmccracken@quinnemanuel.com
                                                Alyssa G. Olson (CA Bar No. 305705)
 2                                              alyolson@quinnemanuel.com
                                                865 S. Figueroa Street, 10th Floor
 3
                                                Los Angeles, CA 90017
 4                                              Telephone: (213) 443-3000
                                                Facsimile: (213) 443-3100
 5
                                                Xi (“Tracy”) Gao (CA Bar No. 326266)
 6                                              tracygao@quinnemanuel.com
                                                Carl Spilly (admitted pro hac vice)
 7                                              carlspilly@quinnemanuel.com
 8                                              1300 I Street NW, Suite 900
                                                Washington D.C., 20005
 9                                              Telephone: (202) 538-8000
                                                Facsimile: (202) 538-8100
10
                                                Attorneys for Defendant Google LLC
11

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